Case 2:21-cv-06719-CJC-JC Document14 Filed 11/16/21 Pagelof1 Page ID#:61

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6
CIVIL MINUTES — GENERAL

Case No. 2:21-cv-06719-CJC-JC Date November 16, 2021

Title Jamey Perry v. 165 Culver Blvd., LLC et al.

 

 

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [13], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk —s rrp

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
